Case 6:18-cr-06124-EAW Document 77 Filed 08/29/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
Vv.

MICHAEL GALJOUR,

Defendant.

 

 

INFORMATION PURSUANT TO 21 U.S.C. § 851

 

PLEASE TAKE NOTICE that, upon the defendant's conviction of a violation of Title
21 of the United States Code, Section 846 providing for increased punishment in the event of
one or more prior final convictions for a felony drug offense, the United States intends to rely
upon the defendant's prior felony conviction for Manufacturing/Delivery of a Controlled
Substance, Court Case Number 098251601010, from on or about August 9, 2004, in 208
District Court, Houston, Texas, as the basis for the imposition of such increased punishment.

ap
DATED: Rochester, New York, August 21, 2018.

 
 

JAMEBW/P. KENNEDY, JH. /
States Attorney /

PEE MO

CHARLES E. MOYNIHAN ~
Assistant United States Attorney
United States Attorney’s Office
Western District of New York

500 Federal Building

100 State Street

Rochester, New York 14614

(585) 399-3971

Charles.moynihan@usdoj.gov

  

BY:

To: Gary Muldoon, Esq.

 

 
